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United States District Court
Central District of California

UNITED STATES OF AMERICA vs. Docket No. CR 15-00566-FMO-4

Defendant

TRUE FULL NAME: Gaylin Lamont Stancil
akas: _ALSO KNOWN AS: “Dan;” “Jai”

 

GAYLIN STANCIL Social Security No. 3. _7. _9 0
(Last 4 digits)

 

 

In the presence of the attorney for the government, the defendant appeared in person on this date. 11 05 2020

COUNSEL

JUDGMENT AND PROBATION/COMMITMENT ORDER

 

MONTH DAY YEAR

 

 

 

Mark Anthony Davis and Darryl L. Exum, Retained Counsel

(Name of Counsel)

PLEA | Kk] GUILTY, and the court being satisfied that there is a factual basis for the plea. [| NOLO [| NOT

FINDING |

JUDGMENT
AND PROB/
COMM
ORDER

 

CONTENDERE GUILTY

There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
Count 1: Racketeer Influenced and Corrupt Organizations Conspiracy, 18 U.S.C. § 1962(d)

Count 4: Conspiracy to Distribute Cocaine, 21 U.S.C. §§ 846, 841(a)(1), 841(b)(1)(A)

The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
custody of the Bureau of Prisons to be imprisoned for a term of: fifty-five (55) months.

Defendant Gaylin Stancil (“defendant”) is hereby committed on Counts One (1) and Four (4) of the
Indictment to the custody of the Bureau of Prisons for a term of fifty-five (55) months, to run concurrently. The
court recommends that defendant be designated to Federal Correctional Institution Fort Dix in New Jersey. The

court further

recommends that defendant be allowed to participate in the 500-hour Residential Drug Abuse

Program (“RDAP”).

Upon release from imprisonment, defendant shall be placed on supervised release for a term of five (5)
years. This term consists of five years on each of Counts One (1) and Four (4) of the Indictment, all such terms
to run concurrently under the following terms and conditions:

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Defendant shall comply with the rules and regulations of the United States Probation & Pretrial
Services Office and Amended General Order 20-04.

During the period of community supervision, defendant shall pay the special assessment in
accordance with this judgment's orders pertaining to such payment.

Defendant shall cooperate in the collection of a DNA sample from defendant.
Defendant shall refrain from any unlawful use of a controlled substance. Defendant shall submit

to one drug test within 15 days of release from custody and at least two periodic drug tests
thereafter, not to exceed eight tests per month, as directed by the Probation Officer.

 

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5.

10.

 

Defendant shall participate in an outpatient substance abuse treatment and counseling program
that includes urinalysis, breath and/or sweat patch testing, as directed by the Probation Officer.
Defendant shall abstain from using alcohol and illicit drugs, and from abusing prescription
medications during the period of supervision.

As directed by the Probation Officer, defendant shall pay all or part of the costs of the
Court-ordered treatment to the aftercare contractors during the period of community supervision.
Defendant shall provide payment and proof of payment as directed by the Probation Officer. If
defendant has no ability to pay, no payment shall be required.

When not employed or excused by the Probation Officer for schooling, training, or other
acceptable reasons, defendant shall perform 20 hours of community service per week as directed
by the Probation Office.

Defendant shall not associate with anyone known to him to be a member of the Sinaloa Cartel and
others known to him to be participants in the Sinaloa Cartel's criminal activities, with the exception
of his family members. He may not wear, display, use or possess any gang insignias, emblems,
badges, buttons, caps, hats, jackets, shoes, or any other clothing that defendant knows evidence
affiliation with the Sinaloa Cartel, and may not display any signs or gestures that defendant knows
evidence affiliation with the Sinaloa Cartel.

As directed by the Probation Officer, defendant shall not be present in any area known to him to
be a location where members of the Sinaloa Cartel meet and/or assemble.

Defendant shall submit his or her person, property, house, residence, vehicle, papers, or other
areas under defendant’s control, to a search conducted by a United States Probation Officer or
law enforcement officer. Failure to submit to a search may be grounds for revocation. Defendant
shall warn any other occupants that the premises may be subject to searches pursuant to this
condition. Any search pursuant to this condition will be conducted at a reasonable time and ina
reasonable manner upon reasonable suspicion that the defendant has violated a condition of his
supervision and that the areas to be searched contain evidence of this violation.

It is ordered that defendant shall pay to the United States a special assessment of $200, which is due

immediately.

Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than

$25 per quarter, and pursuant to the Bureau of Prisons’ Inmate Financial Responsibility Program.

All fines are waived as the court finds that defendant has established that he is unable to pay and is not
likely to become able to pay any fine.

Upon motion by the government, the court dismisses all remaining counts as to this defendant.

In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.

 

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Docket No.:

 

November 5, 2020

 

CR 15-00566-FMO-4

 

 

Date

FERNANDO M. OLGUIN

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WV

U.S. District Judge

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

November 6, 2020 By

 

Clerk, U.S. District Court

/s/ Vanessa Figueroa

 

Filed Date

Deputy Clerk

 

The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

While the defendant is on probation or supervised release pursuant to this judgment:

1. The defendant must not commit another federal, state, or local
crime;

2. he defendant must report to the probation office in the federal
judicial district of residence within 72 hours of imposition of a
sentence of probation or release from imprisonment, unless
otherwise directed by the probation officer;

3. The defendant must report to the probation office as instructed by
the court or probation officer;

4. The defendant must not knowingly leave the judicial district
without first receiving the permission of the court or probation
officer;

5. The defendant must answer truthfully the inquiries of the probation
officer, unless legitimately asserting his or her Fifth Amendment
right against self-incrimination as to new criminal conduct;

6. The defendant must reside at a location approved by the probation
officer and must notify the probation officer at least 10 days before
any anticipated change or within 72 hours of an unanticipated
change in residence or persons living in defendant’s residence;

7. The defendant must permit the probation officer to contact him or
her at any time at home or elsewhere and must permit confiscation
of any contraband prohibited by law or the terms of supervision and
observed in plain view by the probation officer;

8. The defendant must work at a lawful occupation unless excused by
the probation officer for schooling, training, or other acceptable
reasons and must notify the probation officer at least ten days
before any change in employment or within 72 hours of an
unanticipated change;

9.

The defendant must not knowingly associate with any persons engaged
In criminal activity and must not knowingly associate with any person
convicted ofa felony unless granted permission to do so by the probation
officer. This condition will not apply to intimate family members, unless
the court has completed an individualized review and has determined
that the restriction is necessary for protection of the community or
rehabilitation;

The defendant must refrain from excessive use of alcohol and must not
purchase, possess, use, distribute, or administer any narcotic or other
controlled substance, or any paraphernalia related to such substances,
except as prescribed by a physician;

The defendant must notify the probation officer within 72 hours of being
arrested or questioned by a law enforcement officer;

For felony cases, the defendant must not possess a firearm, ammunition,
destructive device, or any other dangerous weapon;

The defendant must not act or enter into any agreement with a law
enforcement agency to act as an informant or source without the
permission of the court:

As directed by the probation officer, the defendant must notify specific
persons and organizations of specific risks posed by the defendant to
those persons and organizations and must permit the probation officer to
confirm the defendant’s compliance with such requirement and to make
such notifications;

The defendant must follow the instructions of the probation officer to
implement the orders of the court, afford adequate deterrence from
criminal conduct, protect the public from further crimes of the
defendant; and provide the defendant with needed educational or
vocational training, medical care, or other correctional treatment in the
most effective manner.

 

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The defendant must also comply with the following special conditions (set forth below).

 

 

 

STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
for offenses completed before April 24, 1996.

If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(6)()(F).

The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C. §
3563(a)(7).

Payments will be applied in the following order:

1. Special assessments under 18 U.S.C. § 3013;
2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
States is paid):
Non-federal victims (individual and corporate),
Providers of compensation to non-federal victims,
The United States as victim:
3. Fine;
4, Community restitution, under 18 U.S.C. § 3663(c); and
5. Other penalties and costs.

CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit report
inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with
supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan or open
any line of credit without prior approval of the Probation Officer.

The defendant must maintain one personal checking account. All ofdefendant’s income, “monetary gains,” or other pecuniary proceeds
must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts, including
any business accounts, must be disclosed to the Probation Officer upon request.

The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

These conditions are in addition to any other conditions imposed by this judgment.

 

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RETURN

I have executed the within Judgment and Commitment as follows:

Defendant delivered on to

 

 

Defendant noted on appeal on

 

Defendant released on
Mandate issued on

 

 

Defendant’s appeal determined on

 

Defendant delivered on to

 

 

at

 

the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

United States Marshal

By
Date Deputy Marshal

 

 

CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.

Clerk, U.S. District Court

By
Filed Date Deputy Clerk

 

 

 

FOR U.S. PROBATION OFFICE USE ONLY
Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.

(Signed)

 

 

Defendant Date

 

 

U.S. Probation Officer/Designated Witness Date

 

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